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AO 245B         (Rev. 09/13) Judgment in a Criminal Case
                Sheet 1



                                          UNITED STATES DISTRICT COURT
                                                     Southern       District of        Indiana
                                                                           )
               UNITED STATES OF AMERICA                                    )      JUDGMENT IN A CRIMINAL CASE
                                     v.                                    )
                                                                           )
                      ANDREW R. ELPERS                                     )      Case Number: 3:15CR00016-001
                                                                           )
                                                                                  USM Number: 29989-058
                                                                           )
                                                                           )      Ronald J. Freson, Sr.
                                                                                  Defendant’s Attorney
THE DEFENDANT:
   pleaded guilty to count(s)             1, 2, 3, 9, 21, and 36
   pleaded nolo contendere to count(s)
   which was accepted by the court.
   was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

       Title & Section           Nature of Offense                                          Offense Ended            Count
      18 U.S.C. § 2312           Interstate Transportation of Stolen Motor Vehicles            11/7/2012                1
      18 U.S.C. § 2312           Interstate Transportation of Stolen Motor Vehicles           12/10/2014                2
      18 U.S.C. § 2312           Interstate Transportation of Stolen Motor Vehicles            6/23/2014                3
      18 U.S.C. § 2312           Interstate Transportation of Stolen Motor Vehicles            4/2/2014                 9
      18 U.S.C. § 2312           Interstate Transportation of Stolen Motor Vehicles            9/16/2014               21
 18 U.S.C. § 1956(a)(1)(B)(i)    Money Laundering                                              1/11/2014               36
       The defendant is sentenced as provided in pages 2 through      5      of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
   The defendant has been found not guilty on count(s)
   Count(s) 4 - 8, 10 - 20, and 22 - 32                        is      are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.

                                                                        7/25/2016
                                                                        Date of Imposition of Judgment


          A CERTIFIED TRUE COPY
          Laura A. Briggs, Clerk                                          __________________________________
                                                                        Signature of Judge
          U.S. District Court
          Southern District of Indiana                                    RICHARD L. YOUNG, CHIEF JUDGE
                                                                          United States District Court
          By                                                              Southern
                                                                        The HonorableDistrict
                                                                                      Richard of IndianaU.S. District Court Chief Judge
                                                                                              L. Young,
                                Deputy Clerk                            Name and Title of Judge

                                                                          7/29/2016
                                                                        Date
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AO 245B    (Rev. 09/13) Judgment in Criminal Case
           Sheet 2 — Imprisonment

                                                                                                       Judgment — Page       2   of   5
 DEFENDANT:              ANDREW R. ELPERS
 CASE NUMBER:             3:15CR00016-001

                                                             IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of:     51 months per count, to be served concurrently

          The court makes the following recommendations to the Bureau of Prisons:
          Designation to USP Lee Camp in Virginia.

          The defendant is remanded to the custody of the United States Marshal.

           The defendant shall surrender to the United States Marshal for this district:
              at                                      a.m.        p.m.       on                                          .
              as notified by the United States Marshal.

          The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
              before 2 p.m. on                                           .
              as notified by the United States Marshal.
              as notified by the Probation or Pretrial Services Office.


                                                                 RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                       to

 at                                                 , with a certified copy of this judgment.


                                                                                                UNITED STATES MARSHAL


                                                                         By
                                                                                        DEPUTY UNITED STATES MARSHAL
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AO 245B    (Rev. 09/13) Judgment in a Criminal Case
           Sheet 3 — Supervised Release
                                                                                                        Judgment—Page         3   of     5
 DEFENDANT:              ANDREW R. ELPERS
 CASE NUMBER:             3:15CR00016-001
                                                      SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of : 3 years per count, concurrent


 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a
 controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two
 periodic drug tests thereafter.
       The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
       The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
       The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16913,
       et seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or
       she resides, works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)
       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance
 with the Schedule of Payments sheet of this judgment.
           The defendant must comply with the conditions listed below:

                                          CONDITIONS OF SUPERVISION
 1.              You shall report to the probation office in the district to which you are released within 72 hours of release
                 from the custody of the Bureau of Prisons.

 2.              You shall report to the probation officer in a manner and frequency directed by the court or probation officer.

 3.              You shall permit a probation officer to visit you at a reasonable time at home or elsewhere and shall permit
                 confiscation of any contraband observed in plain view of the probation officer.

 4.              You shall not knowingly leave the judicial district without the permission of the court or probation officer.

 5.              You shall answer truthfully the inquiries by the probation officer, subject to your 5th Amendment privilege.

 6.              You shall not meet, communicate, or otherwise interact with a person you know to be engaged, or planning to
                 be engaged, in criminal activity. You shall report any contact with persons you know to be convicted felons
                 to your probation officer within 72 hours of the contact.

 7.              You shall reside at a location approved by the probation officer and shall notify the probation officer at least
                 72 hours prior to any planned change in place or circumstances of residence or employment (including, but
                 not limited to, changes in residence occupants, job positions, job responsibilities). When prior notification is
                 not possible, you shall notify the probation officer within 72 hours of the change

 8.              You shall not own, possess, or have access to a firearm, ammunition, destructive device or dangerous weapon.

 9.              You shall notify the probation officer within 72 hours of being arrested, charged, or questioned by a law
                 enforcement officer.

 10.             You shall maintain lawful full time employment, unless excused by the probation officer for schooling,
                 vocational training, or other reasons that prevent lawful employment.
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            (Rev. 09/13) Judgment in a Criminal Case
            Sheet 5 — Criminal Monetary Penalties
                                                                                                  Judgment — Page    3.01      of    5
   DEFENDANT:             ANDREW R. ELPERS
   CASE NUMBER:            3:15CR00016-001



  11.            As directed by the probation officer, you shall notify third parties who may be impacted by the nature of the
                 conduct underlying your current or prior offense(s) of conviction and shall permit the probation officer to
                 make such notifications and/or confirm your compliance with this requirement.

  12.             You shall make a good faith effort to follow instructions of the probation officer necessary to ensure
                  compliance with the conditions of supervision.

  13.             You shall not use or possess any controlled substances prohibited by applicable state or federal law unless
                  authorized to do so by a valid prescription from a licensed medical practitioner. You shall follow the
                  prescription instructions regarding frequency and dosage.

  14.             You shall submit to substance abuse testing to determine if you have used a prohibited substance or to
                  determine compliance with substance abuse treatment. Testing may include no more than eight drug tests per
                  month. You shall pay some or all of the costs of testing, if financially able. You shall not attempt to obstruct
                  or tamper with the testing methods.

  15.             You shall not knowingly purchase, possess, distribute, administer, or otherwise use any psychoactive
                  substances (e.g., synthetic marijuana, bath salts, Spice, glue, etc.) that impair a person’s physical or mental
                  functioning, whether or not intended for human consumption.

  16.             You shall provide the probation officer access to any requested financial information and shall authorize the
                  release of that information to the U.S. Attorney’s Office for use in connection with the collection of any
                  outstanding fines and/or restitution.

  17.             You shall not incur new credit charges or open additional lines of credit without the approval of the probation
                  officer.

  18.             You shall submit to the search by the probation officer of you person, vehicle, office/business, residence, and
                  property, including any computer systems and hardware or software systems, electronic devices, telephones,
                  and Internet-enabled devices, including the data contained in any such items, whenever the probation officer
                  has a reasonable suspicion that a violation of a condition of supervision or other unlawful conduct may have
                  occurred or be underway involving you and that the area(s) to be searched contain evidence of such violation
                  or conduct. Other law enforcement may assist as necessary. You shall submit to the seizure of contraband
                  found by the probation officer. You shall warn other occupants these locations may be subject to searches.

  19.             You shall pay the costs associated with the following condition of supervised release, to the extent you are
                  financially able to pay: substance abuse testing. The probation officer shall determine your ability to pay and
                  any schedule of payment.


I understand that I and/or the probation officer may petition the Court to modify these conditions, and the final decision to
modify these terms lies with the Court. If I believe these conditions are being enforced unreasonably, I may petition the Court
for relief or clarification; however, I must comply with the directions of my probation officer unless or until the Court directs
otherwise. Upon a finding of a violation of probation or supervised release, I understand that the court may (1) revoke
supervision, (2) extend the term of supervision, and/or (3) modify the condition of supervision.

 These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


 (Signed)
                                  Defendant                                            Date


                                  U.S. Probation Officer/Designated Witness            Date
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 AO 245B    (Rev. 09/13) Judgment in a Criminal Case
            Sheet 5 — Criminal Monetary Penalties
                                                                                                     Judgment — Page       4      of    5
  DEFENDANT:              ANDREW R. ELPERS
  CASE NUMBER:             3:15CR00016-001

                                              CRIMINAL MONETARY PENALTIES
       The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                         Assessment                                       Fine                                Restitution
  TOTALS             $ 600.00                                         $                                     $ 453,456.86

       The determination of restitution is deferred until                 . An Amended Judgment in a Criminal Case (AO 245C) will be
       entered after such determination.

       The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

       If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
       otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
       victims must be paid before the United States is paid.

              Name of Payee                            Total Loss*                    Restitution Ordered              Priority or Percentage

           See Page 4.01 and 4.02




        Restitution amount ordered pursuant to plea agreement $

        The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
        fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
        subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
        The court determined that the defendant does not have the ability to pay interest and it is ordered that:

             the interest requirement is waived for the          fine            restitution.

             the interest requirement for the           fine         restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses
committed on or after September 13, 1994, but before April 23, 1996.
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           Sheet 5 — Criminal Monetary Penalties
                                                                                      Judgment — Page   4.01   of   5
 DEFENDANT:              ANDREW R. ELPERS
 CASE NUMBER:             3:15CR00016-001



                                                      RESTITUTION


                 Name of Payee                         Total Loss           Restitution Ordered

                 Vermeer Sales                          $5,000.00                $5,000.00
               c/o Sue Fitzgerald
                     Brandeis                           $2,500.00                $2,500.00
                 c/o Bob Morris
                     Hobgood                             $500.00                  $500.00
               c/o Dan Hobgood
                JTL Landscape                            $500.00                  $500.00
                c/o John Luecke
               Lubby Equipment                          $1,000.00                $1,000.00
                 c/o Bill Oliver
               Runyon Company                           $2,500.00                $2,500.00
          c/o Larry or Terry Runyon
                    TXR, LLC                            $1,000.00                $1,000.00
                  c/o Tom Roof
             Diamond Equipment                         $10,000.00                $10,000.00
                   c/o Dan Hen
               Travelers Claims                        $31,824.42                $31,824.42
               Claim #E2U0099
            Sentry Select Insurance                    $50,491.76                $50,491.76
                     Company
              Claim #57K057773
             Attn: Scott Kezeske
            FCCI Insurance Group                       $34,899.20                $34,899.20
            Claim #C00119725-00
             Attn: Cindy Colding
          Zurich Insurance Company                     $132,613.95              $132,613.95
             Claim #5570115760
          Attn: Salvage Department
                  Dave Wenger
             Westfield Insurance                        $6,734.49                $6,734.49
                     Company
               Attn: Lynn Bayer
             Claim #0001506439
           Allianz Global Corporate                    $45,515.84                $45,515.84
                  and Specialty
               Claim #40039798
             Attn: Mallory Refior
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AO 245B   (Rev. 09/13) Judgment in a Criminal Case
          Sheet 5 — Criminal Monetary Penalties
                                                                                     Judgment — Page   4.02   of   5
 DEFENDANT:             ANDREW R. ELPERS
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                                                     RESTITUTION


            Nationwide Mutual                         $12,714.46                $12,714.46
            Insurance Company
          Claim #7224PE149187
          Attn: Michael Fosnaugh
            SECURA Insurance                          $29,127.00                $29,127.00
              Claim #553950
          Auto-Owners Insurance                       $26,000.00                $26,000.00
            Claim #64-4029-12
          Auto-Owners Insurance                       $19,195.74                $19,195.74
             Claim #64-674-14


                    TOTALS                            $453,456.86              $453,456.86
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AO 245B   (Rev. 09/13) Judgment in a Criminal Case
          Sheet 6 — Schedule of Payments

                                                                                                              Judgment — Page        5       of   5
 DEFENDANT:             ANDREW R. ELPERS
 CASE NUMBER:            3:15CR00016-001
                                                     SCHEDULE OF PAYMENTS
 Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

 A        Lump sum payment of                                due immediately, balance due
                not later than                                   , or
                in accordance              C           D          E, or         G below; or
 B        Payment to begin immediately (may be combined with                    C,           D, or           G below); or
 C        Payment in equal                        (e.g., weekly, monthly, quarterly) installments of $                      over a period of
                          (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

 D        Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                    over a period of
                        (e.g., months or years), to commence                     (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or
 E        Payment during the term of supervised release will commence within              (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

 F         If this case involves other defendants, each may be held jointly and severally liable for payment of all or part of the
           restitution ordered herein and the Court may order such payment in the future. The victims' recovery is limited to the
           amount of loss, and the defendant's liability for restitution ceases if and when the victims receive full restitution.
 G         Special instructions regarding the payment of criminal monetary penalties:
          Any unpaid restitution balance during the term of supervision shall be paid at a rate of not less than 10% of the defendant’s
          gross monthly income.


 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
 due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
 Inmate Financial Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
      Joint and Several
      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.
                   Defendant Name                                     Case Number                                Joint & Several Amount




      The defendant shall pay the cost of prosecution.
      The defendant shall pay the following court cost(s):
       The defendant shall forfeit the defendant’s interest in the following property to the United States:
       See page 5.01
 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
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AO 245B   (Rev. 09/13) Judgment in a Criminal Case
          Sheet 6B — Schedule of Payments

                                                                                                      Judgment — Page   5.01   of   5
 DEFENDANT: ANDREW R. ELPERS
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                                                FORFEITED PROPERTY

                A 2010 Ford Super-Duty F-350 truck, bearing partial Vehicle Identification Number (VIN) EA50217;

                A red 2007 Harley Davidson motorcycle, bearing partial VIN Y665520;

                A 2005 Land Rover automobile, bearing partial VIN A309435;

                A black flatbed dual-axel trailer, bearing the fictitious partial VIN plate number 034451; and

                Various heavy equipment attachments, including tooth buckets and smooth edge buckets.
